Case: 2:19-cv-03125-SDM-EPD Doc #: 21 Filed: 10/15/19 Page: 1 of 6 PAGEID #: 106




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

SYMBOLOGY INNOVATIONS, LLC,                       CASE NO. 2:19-CV-3125

               Plaintiff,                         JUDGE SARAH D. MORRISON

       v.                                         MAGISTRATE JUDGE
                                                  ELIZABETH PRESTON DEAVERS
FOODFIRST GLOBAL RESTAURANTS,
INC.,                                             JURY TRIAL DEMANDED

               Defendant.

     DEFENDANT FOODFIRST GLOBAL RESTAURANTS, INC.’S ANSWER AND
                      AFFIRMATIVE DEFENSES

       Defendant FoodFirst Global Restaurants, Inc. (“FoodFirst”) hereby responds to the

Complaint (D.I. 1) filed on July 18, 2019 (the “Complaint”) by Plaintiff Symbology Innovations,

LLC (“Symbology”).

       1.      Symbology’s Complaint speaks for itself. Answering further, FoodFirst admits

that U.S. Patent No. 8,424,752 (the “Patent-in-Suit”) recites on its face that its title is “System

and method for presenting information about an object on a portable electronic device” and that

Exhibit A to the Complaint purports to be a copy of the Patent-in-Suit. FoodFirst denies all other

allegations in paragraph 1 of the Complaint.

                                  NATURE OF THE ACTION1

       2.      Symbology’s Complaint speaks for itself.

                                            PARTIES

       3.      FoodFirst lacks information and knowledge sufficient to admit or deny the

allegations in paragraph 3 of the Complaint, and, therefore, denies them.

1
        FoodFirst has incorporated the headings used in the Complaint for convenience only, and
to the extent any heading purports to be an allegation against FoodFirst, FoodFirst denies it.
Case: 2:19-cv-03125-SDM-EPD Doc #: 21 Filed: 10/15/19 Page: 2 of 6 PAGEID #: 107




       4.      FoodFirst admits it is a company incorporated in Ohio with an address of 777

Goodale Blvd., Ste. 100, Columbus, Ohio 43212. Answering further, FoodFirst admits that its

registered agent is Corporation Service Company, whose address is 50 West Broad Street, Ste.

1330, Columbus, Ohio 43215. The remainder of the allegations in paragraph 4 of the Complaint

set forth conclusions of law to which no response is required.

       5.      FoodFirst admits that it is the owner and operator of the Bravo and Brio restaurant

chains. Answering further, FoodFirst admits that an acquisition occurred on May 24, 2018,

involving Bravo Brio Restaurant Group, Inc. and FoodFirst. Further answering, as the Articles

of Incorporation referred to in paragraph 5 of the Complaint are not attached, FoodFirst lacks

information and knowledge sufficient to admit or deny the allegations in paragraph 5 of the

Complaint pertaining to the Articles of Incorporation, and, therefore, denies them.           The

remainder of the allegations in paragraph 5 of the Complaint set forth conclusions of law to

which no response is required.

                                 JURISDICTION AND VENUE

       6.      Symbology’s Complaint speaks for itself. The remainder of the allegations in

paragraph 6 of the Complaint set forth conclusions of law to which no response is required.

       7.      The allegations in paragraph 7 of the Complaint set forth conclusions of law to

which no response is required.

       8.      Denied.

       9.      The allegations in paragraph 9 of the Complaint set forth conclusions of law to

which no response is required.
Case: 2:19-cv-03125-SDM-EPD Doc #: 21 Filed: 10/15/19 Page: 3 of 6 PAGEID #: 108




                                           PATENT-IN-SUIT

       10.     The Patent-in-Suit speaks for itself. The remaining allegations in paragraph 10 of

the Complaint set forth conclusions of law to which no response is required.

                                             COUNT I
                            (Infringement of U.S. Patent No. 8,424,752)

       11.     FoodFirst repeats and incorporates each of its responses to the foregoing

paragraphs as if fully set forth herein.

       12.     The allegations in paragraph 12 of the Complaint set forth conclusions of law to

which no response is required. Answering further, FoodFirst lacks information and knowledge

sufficient to admit or deny the allegations in paragraph 12 of the Complaint, and, therefore,

denies them.

       13.     The allegations in paragraph 13 of the Complaint set forth conclusions of law to

which no response is required. Answering further, FoodFirst lacks information and knowledge

sufficient to admit or deny the remaining allegations in paragraph 13 of the Complaint, and,

therefore, denies them.

       14.     Denied.

       15.     Denied.

       16.     Denied.

       17.     Denied.

       18.     Denied.

       19.     Denied.

       20.     Denied.

       21.     Denied.

       22.     Denied.
Case: 2:19-cv-03125-SDM-EPD Doc #: 21 Filed: 10/15/19 Page: 4 of 6 PAGEID #: 109




       23.     Denied.

       24.     Denied.

       25.     Denied.

       26.     Denied.

       27.     FoodFirst lacks information and knowledge sufficient to admit or deny the

allegations in paragraph 27 of the Complaint, and, therefore, denies them.

                                     REQUEST FOR RELIEF

       28.     FoodFirst denies that Symbology is entitled to the specific relief requested in

subparagraphs (a) through (f) or to any relief whatsoever.

                                  AFFIRMATIVE DEFENSES

       Without assuming any burden that it would not otherwise bear, and reserving its right to

assert additional defenses, FoodFirst, for its defenses, pleads as follows:

                               FIRST AFFIRMATIVE DEFENSE
                                     (Non-Infringement)

       1.      Symbology is not entitled to any relief against FoodFirst because FoodFirst has

not infringed and is not infringing, either directly or indirectly, literally or under the doctrine of

equivalents, any valid and enforceable claim of the Patent-in-Suit.

                             SECOND AFFIRMATIVE DEFENSE
                                 (Alternative Pleading Bar)

       2.      Symbology is prohibited from pursuing, against FoodFirst, both a direct

infringement theory of liability, under 35 U.S.C. § 271(a), and an indirect or induced

infringement theory of liability, under 35 U.S.C. § 271(b). See Picker Int’l, Inc. v. Varian

Assocs., 661 F. Supp. 347, 350 (N.D. Ohio 1987).
Case: 2:19-cv-03125-SDM-EPD Doc #: 21 Filed: 10/15/19 Page: 5 of 6 PAGEID #: 110




                              THIRD AFFIRMATIVE DEFENSE
                                  (No Recovery of Costs)

        3.     Symbology’s recovery of costs is limited under 35 U.S.C. § 288.

                             FOURTH AFFIRMATIVE DEFENSE
                                  (No Injunctive Relief)

        4.     Symbology is not entitled to injunctive relief because any alleged injury to

Symbology is not immediate or irreparable, and Symbology has an adequate remedy at law.

                               FIFTH AFFIRMATIVE DEFENSE
                                 (All Other Defenses Reserved)

        5.     FoodFirst reserves all affirmative defenses under Rule 8(c) of the Federal Rules of

Civil Procedure, the patent laws of the United States, and any other defenses, at law or in equity,

that may now exist or in the future be available, based on discovery and further investigation in

this case.

                                         JURY DEMAND

        FoodFirst hereby demands a trial by jury in this action on all issues so triable.

Dated: October 15, 2019                        Respectfully submitted,
                                               VORYS, SATER, SEYMOUR AND PEASE LLP

                                                /s/ John M. Kuhl
                                               John M. Kuhl (0080966)
                                               52 East Gay Street
                                               Columbus, Ohio 43215
                                               Phone:        (614) 464-6400
                                               Fax:          (614) 464-6350
                                               E-mail:       jmkuhl@vorys.com

                                               Michael J. Garvin (0025394)
                                               Aaron M. Williams (0090319)
                                               200 Public Square, Suite 1400
                                               Cleveland, Ohio 44114
                                               Phone:        (216) 479-6100
                                               Fax:          (216) 479-6060
                                               E-mail:       mjgarvin@vorys.com
                                                             amwilliams@vorys.com
Case: 2:19-cv-03125-SDM-EPD Doc #: 21 Filed: 10/15/19 Page: 6 of 6 PAGEID #: 111




                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2019, a copy of the foregoing Defendant FoodFirst

Global Restaurants, Inc.’s Answer and Affirmative Defenses was filed electronically. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties indicated

on the electronic filing receipt. Parties may access this filing through the Court’s system.

                                                   Respectfully submitted,



                                                   /s/ John M. Kuhl
                                                   John M. Kuhl (0080966)
                                                   VORYS, SATER, SEYMOUR AND PEASE LLP
                                                   52 East Gay Street
                                                   Columbus, Ohio 43215
                                                   Phone:     (614) 464-6400
                                                   Fax:       (614) 464-6350
                                                   E-mail:    jmkuhl@vorys.com


                                                   One of the Attorneys for Defendant
                                                   FoodFirst Global Restaurants, Inc.
